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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Case No: 20-cr-20452
v. Hon. Denise Page Hood
SOPHIE TOYA,

Defendant.

VERDICT FORM

COUNT 1
(18 U.S.C. §§ 1347 and 2 — Health Care Fraud)

As to Count | of the Indictment, which charges Health Care Fraud, we

unanimously find SOPHIE TOYA:

___ Not Guilty A Guilty

COUNT 2

(18 U.S.C. §§ 1035(a) and 2 — False Statements Relating to Health Care Matters)

As to Count 2 of the Indictment, we unanimously find SOPHIE TOYA:

___Not Guilty V Guilty
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COUNT 3
(18 U.S.C. §§ 1035(a) and 2 — False Statements Relating to Health Care Matters)

As to Count 3 of the Indictment, we unanimously find SOPHIE TOYA:

dA

___Not Guilty Guilty

COUNT 4
(18 U.S.C. §§ 1035(a) and 2 — False Statements Relating to Health Care Matters)

As to Count 4 of the Indictment, we unanimously find SOPHIE TOYA:

Not Guilty Louilty

COUNT 5
(18 U.S.C. §§ 1035(a) and 2 — False Statements Relating to Health Care Matters)

As to Count 5 of the Indictment, we unanimously find SOPHIE TOYA:

___ Not Guilty Sent
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COUNT 6
(18 U.S.C. §§ 1035(a) and 2 — False Statements Relating to Health Care Matters)

As to Count 6 of the Indictment, we unanimously find SOPHIE TOYA:

___ Not Guilty Savy

s/Jury Foreperson

In compliance with the Privacy Policy Adopted by
the Judicial Conference, the verdict form with the
original signature has been filed under seal

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Dated: (Muy /Or, ody
